                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

JEFFERSON GRIFFIN,
     Plaintiff,

     v.

NORTH CAROLINA STATE BOARD OF
ELECTIONS,                                    Case No. 5:24-cv-00731-M-RJ
    Defendant,
                                                  AMENDED ANSWER AND
                                                    CROSSCLAIMS FOR
     and
                                               DECLARATORY AND INJUNCTIVE
                                                RELIEF (Never Residents Petition)
ALLISON RIGGS, NORTH CAROLINA
ALLIANCE FOR RETIRED AMERICANS,
VOTEVETS ACTION FUND, TANYA
WEBSTER-DURHAM, SARAH SMITH, and
JUANITA ANDERSON,
     Intervenor-Defendants.

NORTH CAROLINA DEMOCRATIC PARTY,
    Plaintiff,

     v.
                                              Case No. 5:24-cv-00699-M-KS
NORTH CAROLINA STATE BOARD OF
ELECTIONS et al.,
    Defendants.

CARRIE CONLEY et al.,
    Plaintiffs,

     v.                                       Case No. 5:25-cv-00193-M-RJ

ALAN HIRSCH et al.,
   Defendants.



   VOTEVETS ACTION FUND, NORTH CAROLINA ALLIANCE FOR RETIRED
   AMERICANS, TANYA WEBSTER-DURHAM, SARAH SMITH, AND JUANITA
 ANDERSON’S AMENDED ANSWER TO PLAINTIFF’S VERIFIED PETITION FOR
 JUDICIAL REVIEW (NEVER RESIDENTS PETITION) AND CROSSCLAIMS FOR
               DECLARATORY AND INJUNCTIVE RELIEF



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       Intervenor-Defendants the North Carolina Alliance for Retired Americans (“the Alliance”),

VoteVets Action Fund (“VoteVets”), Tanya Webster-Durham, Sarah Smith, and Juanita Anderson

(together, “VoteVets Intervenors”) answer Plaintiff’s Verified Petition for Judicial Review

(“Never Residents Petition”), 1 see ECF No. 1-4, as follows:

       The Petition begins with an unnumbered paragraph to which no response is required. To

the extent a response is required, VoteVets Intervenors incorporate by reference the below

paragraphs as their response, deny the allegations, and deny that Plaintiff is entitled to any relief.

                                        INTRODUCTION

       1.      VoteVets Intervenors admit that on December 13, 2024, the State Board of

Elections dismissed three categories of election protests and that Plaintiff’s Never Residents

Petition, ECF No. 1-4, seeks judicial review of the State Board’s dismissal of one of those protests.

VoteVets Intervenors lack sufficient knowledge or information to form a belief as to the truth or

falsity of the allegations in the first sentence of Paragraph 1 and therefore deny them. The

remainder of Paragraph 1 contains legal contentions, characterizations, conclusions, and opinions

to which no response is required. To the extent a response is required, VoteVets Intervenors deny

the allegations.

                         PARTIES AND NATURE OF THE ACTION

       2.      VoteVets Intervenors admit that Plaintiff is a judge on the North Carolina Court of

Appeals, and that he was the Republican candidate in the 2024 general election for Seat 6 of the

Supreme Court of North Carolina. The remainder of Paragraph 2 contains legal contentions,


1
  This challenge is sometimes referred to elsewhere as the Non-Resident Challenge. VoteVets
Intervenors refer to it in this Answer as the Never Residents challenge—as Judge Griffin does in
his petition. VoteVets Intervenors do not agree, however, that any of the challenged voters do not
satisfy the applicable residency requirements to vote in North Carolina.


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characterizations, conclusions, and opinions to which no response is required. To the extent a

response is required, VoteVets Intervenors deny the allegations.

        3.     Admitted.

        4.     Paragraph 4 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, admitted.

        5.     Paragraph 5 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors admit that Allison Riggs is the Democratic nominee for associate justice of the North

Carolina Supreme Court. VoteVets Intervenors lack sufficient knowledge or information to form

a belief as to the truth or falsity of the remaining allegations in Paragraph 5 and therefore deny

them.

                                 JURISDICTION AND VENUE

        6.     Paragraph 6 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors admit that the cited statute contains the quoted text and deny the remaining allegations

in Paragraph 6.

        7.     VoteVets Intervenors admit that on December 13, 2024, the State Board of

Elections entered a final decision dismissing three categories of election protests. VoteVets

Intervenors lack sufficient knowledge or information to form a belief as to the truth or falsity of

the allegations in Paragraph 7 that “the decision was placed in the mail for service on Judge Griffin

via FedEx on 13 December 2024,” and therefore deny them. The remainder of Paragraph 7

contains legal contentions, characterizations, conclusions, and opinions to which no response is

required. To the extent a response is required, VoteVets Intervenors deny the allegations.




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       8.       Paragraph 8 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors lack sufficient knowledge or information to form a belief as to the truth or falsity of

the allegations in Paragraph 8 and therefore deny them.

                                        BACKGROUND

       9.       VoteVets Intervenors lack sufficient knowledge or information to form a belief as

to the truth or falsity of the allegations in Paragraph 9 and therefore deny them.

       10.      The cited document speaks for itself. Further, Paragraph 10 contains legal

contentions, characterizations, conclusions, and opinions to which no response is required. To the

extent a response is required, VoteVets Intervenors admit that the State Board of Elections

assumed jurisdiction over three categories of protests, and deny the remaining allegations in

Paragraph 10.

       11.      Admitted.

       12.      Paragraph 12 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors admit the Board considered the adequacy of Judge Griffin’s service of the protests on

voters, but otherwise deny the remaining allegations in Paragraph 12.

       13.      Paragraph 13 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors deny the allegations.

       14.      Paragraph 14 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets




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Intervenors admit that the cited code contains the quoted text and deny the remaining allegations

in Paragraph 14.

       15.     Paragraph 15 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors lack sufficient knowledge or information to form a belief as to the truth or falsity of

the allegations in Paragraph 15 and therefore deny them.

       16.     Paragraph 16 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors admit that the State Board of Elections concluded, “by a vote of 3 to 2, that the protests

were not properly served on affected parties required to receive service of copies of the protest

filings and therefore do not substantially comply with N.C.G.S. § 163-182.9,” Ex. A, Decision &

Order 14, ECF No. 1-4, and deny the remaining allegations in Paragraph 16.

       17.     Paragraph 17 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors deny the allegations.

       18.     Paragraph 18 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors deny the allegations.

       19.     Paragraph 19 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors lack sufficient knowledge or information to form a belief as to the truth or falsity of

the allegations in Paragraph 19 and therefore deny them.




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       20.     Paragraph 20 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors deny the allegations.

       21.     Paragraph 21 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors lack sufficient knowledge or information to form a belief as to the truth or falsity of

the allegations in Paragraph 21 and therefore deny them.

       22.     Paragraph 22 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors admit that the State Board of Elections concluded “by a vote of 3 to 2, that this category

of protests does not allege a violation of law, irregularity, or misconduct in the conduct of the

general election,” Ex. A, Decision & Order 32, ECF No. 1-4, and deny the remaining allegations

in Paragraph 22.

                        EXCEPTIONS AND GROUNDS FOR RELIEF

       23.     Paragraph 23 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors deny the allegations.

       24.     VoteVets Intervenors deny Plaintiff’s “exceptions to the decision” of the State

Board of Elections.

       25.     Paragraph 25 contains legal contentions, characterizations, conclusions, and

opinions to which no response is required. To the extent a response is required, VoteVets

Intervenors deny Plaintiff’s “exception.”




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       26.     The cited document speaks for itself. Further, Paragraph 26 contains legal

contentions, characterizations, conclusions, and opinions to which no response is required. To the

extent a response is required, VoteVets Intervenors deny Plaintiff’s “exception.”

       27.     The cited document speaks for itself. Further, Paragraph 27 contains legal

contentions, characterizations, conclusions, and opinions to which no response is required. To the

extent a response is required, VoteVets Intervenors deny Plaintiff’s “exception.”

       28.     The cited document speaks for itself. Further, Paragraph 28 contains legal

contentions, characterizations, conclusions, and opinions to which no response is required. To the

extent a response is required, VoteVets Intervenors deny Plaintiff’s “exception.”

       29.     The cited document speaks for itself. Further, Paragraph 29 contains legal

contentions, characterizations, conclusions, and opinions to which no response is required. To the

extent a response is required, VoteVets Intervenors deny Plaintiff’s “exception.”

       30.     The cited document speaks for itself. Further, Paragraph 30 contains legal

contentions, characterizations, conclusions, and opinions to which no response is required. To the

extent a response is required, VoteVets Intervenors deny Plaintiff’s “exception.”

       31.     The cited document speaks for itself. Further, Paragraph 31 contains legal

contentions, characterizations, conclusions, and opinions to which no response is required. To the

extent a response is required, VoteVets Intervenors deny Plaintiff’s “exception.”

                                       RELIEF SOUGHT

       VoteVets Intervenors deny that Plaintiff is entitled to any relief.

                                      GENERAL DENIAL

       VoteVets Intervenors deny every allegation in Plaintiff’s Verified Petition for Judicial

Review that is not expressly admitted herein.




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                                    AFFIRMATIVE DEFENSES

          1.     Plaintiff’s claims are barred because they seek relief inconsistent with the United

States Constitution.

          2.     Plaintiff’s claims are barred because Plaintiff seeks relief inconsistent with federal

and state law.

          3.     Plaintiff’s claims are equitably barred, including (but not limited to) because of

laches.

          4.     Plaintiff has waived the right to bring some or all of his claims.

          5.     Plaintiff has failed to state an adequate claim for relief.

          WHEREFORE, having fully answered Plaintiff’s Verified Petition for Judicial Review,

VoteVets Intervenors pray for judgment as follows:

          A.     That judgment be entered in favor of VoteVets Intervenors and against Plaintiff on

                 Plaintiff’s Verified Petition for Judicial Review and that Plaintiff takes nothing

                 thereby;

          B.     That VoteVets Intervenors be awarded reasonable attorneys’ fees and costs under

                 any applicable statute or equitable doctrine; and

          C.     For such other and further relief as the Court deems appropriate.




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             VOTEVETS INTEVENORS’ CROSSCLAIMS AGAINST THE NORTH
                      CAROLINA BOARD OF ELECTIONS

       1.      VoteVets Intervenors assert their crossclaims against defendant North Carolina

State Board of Elections (“State Board” or “Board”) as follows:

                                        INTRODUCTION

       2.      Before voting began in the November 2024 general election, North Carolina’s rules

of the road for casting and counting ballots were set and clear. Pursuant to those rules, millions of

eligible voters exercised their fundamental right to vote in last year’s general election, including

in the contest for Associate Justice of the North Carolina Supreme Court.

       3.      After voting ended and the votes were tallied, it became evident that Judge

Jefferson Griffin lost the race for Associate Supreme Court Justice to incumbent Justice Allison

Riggs by over seven hundred votes.

       4.      Instead of accepting his loss, Judge Griffin filed hundreds of challenges in virtually

every county in the state. These challenges demanded retroactive changes to election rules that

would result in the disenfranchisement of thousands of voters who had already cast their ballots in

the general election.

       5.      Each of the challenged voters had every reason to expect their vote would count.

None could have foretold that—nearly half a year later—they would be disenfranchised. Worse

yet, many of the targeted voters are serving in our military, and it is undisputed that all of them

obeyed the rules as they existed on election day.

       6.      As relevant here, Judge Griffin challenges the votes of overseas voters who lawfully

obtained North Carolina residency through their parents or guardians. The North Carolina

legislature enfranchised these voters through unanimously-passed legislation thirteen years ago,

but Griffin now argues they should no longer be permitted to vote in the State.



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        7.        This brazen attempt to rob these voters of their validly cast ballots is astounding. It

is a bedrock principle that the right to vote “is a fundamental matter in a free and democratic

society,” and is “preservative of other basic civil and political rights.” Reynolds v. Sims, 377 U.S.

533, 561–562 (1964). The U.S. Supreme Court has thus “repeatedly recognized that all qualified

voters have a constitutionally protected right to vote . . . and to have their votes counted.” Id. at

554.

        8.        If the State Board is ordered to remove these votes from the ballot count,

unsuspecting voters across the State who followed the law as it existed at the time of the election

will suddenly be disenfranchised.

        9.        The Constitution’s guarantees of due process, the right to vote, as well as the

National Voter Registration Act (“NVRA”) and the Civil Rights Act of 1964 (“CRA”), clearly bar

Griffin’s demand to toss out the ballots of hundreds of rule-following voters based on novel, post-

election interpretations of state law, which Griffin only seeks to apply to some voters, in hopes of

obtaining an electoral advantage.

        10.       Our federal Constitution and this Circuit’s precedents prohibit Griffin’s effort to

“lay by and gamble upon receiving a favorable decision of the electorate and then, upon losing,

seek to undo the ballot results in a court action.” Hendon v. N. Carolina State Bd. of Elections, 710

F.2d 177, 182 (4th Cir. 1983) (citation omitted). Any other conclusion would incentivize every

losing candidate to behave as Griffin has, launching an endless effort to retroactively change

election rules.

                                   JURISDICTION AND VENUE

        11.       This Court has subject-matter jurisdiction over the crossclaims of VoteVets

Intervenors under 28 U.S.C. § 1331, as they arise under the First and Fourteenth Amendments of




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the U.S. Constitution, the National Voter Registration Act (“NVRA”), and the Civil Rights Act of

1964 (“CRA”).

        12.     This Court also has subject-matter jurisdiction under 28 U.S.C. § 1343(a) and 42

U.S.C. § 1983, as Plaintiffs seek equitable and declaratory relief to protect the right to vote.

        13.     This Court has personal jurisdiction over the State Board, which is a state agency

of North Carolina located within the state.

        14.     Venue in this Court is proper under 28 U.S.C. § 1391(b). The North Carolina Board

of Elections, which assumed jurisdiction over Judge Griffin’s protests giving rise to these claims,

is located in this district. A substantial portion of the violations of federal law at issue occurred

and will occur in this district because some challenged voters are registered and cast their votes in

this district. These voters’ ballots were tallied by their respective county boards of elections in this

district as well.

        15.     Crossclaims are appropriate because VoteVets Intervenors’ claims arise out of the

same transaction or occurrence that is the subject matter of Judge Griffin’s petition here.

        16.     This Court has authority to grant declaratory and injunctive relief under 28 U.S.C.

§§ 2201-2202. The Court also has authority to enter a declaratory judgment and provide injunctive

relief under Federal Rules of Civil Procedure 57 and 65.

                                   FACTUAL BACKGROUND

        17.     In November 2024, millions of voters across North Carolina cast ballots in the

election for Associate Justice on the North Carolina Supreme Court. After the votes were counted,

Justice Riggs prevailed over Judge Griffin by over 700 votes.

        18.     Judge Griffin requested a recount, which was completed on December 3, 2024. The

recount again confirmed Justice Riggs’s victory.




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       19.     Dissatisfied with these results, Judge Griffin filed over 300 election protests in

almost every county across the state. These sweeping protests collectively sought to disenfranchise

over 60,000 North Carolinians who cast ballots in the Supreme Court race.

       20.     As relevant here, Judge Griffin targets ballots cast by 266 citizens living overseas

(“the UMOVA Challenge”). These voters are expressly entitled to vote under the plain terms of

North Carolina’s Uniform Military and Overseas Voters Act (“UMOVA”), enacted by the General

Assembly in 2011. See N.C. Gen. Stat. § 163-258.1, et seq. UMOVA guarantees dependents and

children of North Carolinians living overseas, including those serving in the Armed Forces, the

right to vote in North Carolina elections under the circumstances described in the Act. Id. § 163-

258.2(1)(e).

       21.     Voters who fall into this category have participated in dozens of past elections

without issue, but Judge Griffin now challenges these citizens as not being residents of North

Carolina.

       22.     Judge Griffin purported to notify each challenged voter by sending them a postcard

which was addressed to the voter “or current resident,” and contained a QR code that mobile

smartphone users could scan and then be redirected to the North Carolina Republican Party

webpage. Even if a voter received the postcard, recipients without internet access, smartphones,

or familiarity with QR Code technology could not access additional information, including any of

the protest filings made against their ballots.

       23.     The Board rejected Judge Griffin’s UMOVA Challenge, concluding that the

General Assembly explicitly authorized these individuals to vote in state elections. Ex. A, Decision

& Order 14, ECF No. 1-4 at 29–31 (citing Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S.




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306, 314 (1950)). The State Board further noted that such voters had previously been permitted to

vote for 13 years and in 43 elections. Id. at 31.

       24.     Nonetheless, the North Carolina state courts ordered the disenfranchisement of

these voters. A divided panel of the Court of Appeals of North Carolina concluded that an absentee

voter who allegedly noted on their ballot application form that they live outside the country and

have never lived in the United States “cannot make North Carolina their domicile of choice,”

notwithstanding that such voters have been permitted to vote in North Carolina by statute since

2011. Griffin v. N. Carolina State Bd. of Elections, No. COA25-181, 2025 WL 1021724, at *13

(N.C. Ct. App. Apr. 4, 2025). The majority directed these ballots to be discarded without any

opportunity for notice or cure. Id. at *15.

       25.     After various parties sought discretionary review of the Court of Appeals order, the

Supreme Court of North Carolina declined to disturb the determination of the North Carolina Court

of Appeals. See generally Griffin v. N. Carolina State Bd. of Elections, No. 320P24-3, 2025 WL

1090903 (N.C. Apr. 11, 2025). As a result, the North Carolina courts ordered that these voters’

ballots be tossed out of the count. See id. at *3.

                                              PARTIES

       26.     VoteVets is a national non-profit organization dedicated to elevating the voices of

veterans and their families on issues that affect the lives of those who serve and have served in the

Armed Forces, including on issues like veterans’ care. VoteVets serves all active servicemembers,

including those North Carolinians deployed away from home, as well as veterans. Over 1.5 million

subscribers receive VoteVets’ communications, including thousands of North Carolinians.

Increasing voter turnout among military and veteran voters, along with their families, especially

those who are overseas, is critical to VoteVets’ mission. Furthermore, VoteVets believes that




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turning out the veteran vote benefits all Americans by engaging citizens who have served their

country in the civic process, and aims to promote turnout among all veterans, regardless of their

political beliefs.

        27.     Many of VoteVets’ constituents are servicemembers and their family members who

reside outside of North Carolina and are fully reliant on laws like UOCAVA and UMOVA to

exercise the franchise. VoteVets dedicates significant resources, including funding, personnel

time, and volunteer effort, to ensure these voters can participate in the franchise.

        28.     Working with its partners, VoteVets has developed a first-of-its kind military voter

file containing approximately 14 million records of veterans and military family members,

including records for thousands of voters in North Carolina. VoteVets uses this voter file to contact

military voters and ensure they cast valid ballots. In the 2024 general election, VoteVets sent over

2.5 million texts to 1.5 million military voters, including those overseas, and saw a substantial

increase in turnout participation among contacted voters. Given the importance of laws like

UOCAVA and UMOVA to VoteVets’ constituencies, these efforts often focused on educating

military voters about how to properly submit their ballots under these laws, such that their votes

will be counted.

        29.     Judge Griffin’s challenges threaten to disenfranchise VoteVets’ voters who

participated in the 2024 election according to UOCAVA and UMOVA with the rightful

expectation that their ballots would be counted. In turn, Griffin’s challenges also frustrate

VoteVets’ mission to increase political participation among servicemembers, veterans, and their

families. Moreover, by seeking to change the rules of the game after the election concluded, Judge

Griffin’s challenges frustrate VoteVets’ ability to reliably provide military voters and their families




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with accurate information about to how to vote. VoteVets cannot reliably educate military voters

and their families about how to vote if those rules are subject to challenges after-the-fact.

       30.     If North Carolina implements a cure process now, it will require VoteVets to

rapidly deploy scarce resources to help its constituents and supporters ensure their ballots are

counted. To protect its constituents and supporters from disenfranchisement, VoteVets will be

forced to: (1) conduct outreach to its constituents and supporters deployed abroad who have been

swept up in the election protests, (2) make sure they received notice about the cure process from

election officials, and (3) educate those challenged constituents about the cure process and how to

timely cure their ballots.

       31.     These resources would otherwise have gone to other mission-critical efforts that

will suffer as a result because VoteVets will have less money and personnel resources available to

spend in these efforts.

       32.     Despite VoteVets’ best efforts, their voters stand to be disenfranchised by any new

cure program at this point. First, it is unclear that these challenged voters can even be reached.

Voters often travel for extended periods. They may have also relocated since the election, which

occurred nearly half a year ago. Even if they can be contacted, many are unlikely to the technology

to submit additional identification to the election officials. These voters had no reason to have

prepared themselves for complying with such a requirement given that the election was more than

five months ago and the rules they voted under did not require them to provide additional

information about their residences. Even the voters who can be reached and possess the necessary

documents and access to technology may be discouraged from jumping through these extra hoops,

months after they complied with all of the existing election rules. This belated cure program is also

likely to discourage voters from voting in future elections.




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       33.     The North Carolina Alliance for Retired Americans (the “Alliance”) is a 501(c)(4)

nonprofit social welfare organization incorporated in North Carolina. It is a chartered state affiliate

of the Alliance for Retired Americans, a nationwide grassroots organization with more than 4.3

million members. The Alliance has approximately 58,000 members across North Carolina, most

of whom are retirees over the age of 65. The Alliance’s mission is to ensure social and economic

justice and full civil rights for retirees. To further that mission, the Alliance works to protect the

rights of its members to vote and to have their votes counted. The Alliance has strong interests in

ensuring that the greatest number of its members are allowed to vote and have their votes counted

and in advocating for policies that make voting safe, easy, and reliable for its members.

       34.     The Alliance undertakes a broad range of initiatives to protect its members’ voting

rights. As the Alliance engages members and the larger community of retired North Carolinians,

it answers questions regarding voting requirements and procedures. During Alliance meetings,

members discuss and learn about key issues affecting retirees—such as Social Security and

Medicare—as well as candidates’ positions on those issues. The Alliance also develops and

circulates a newsletter to educate its members on changes to the voting process and how older and

retired Americans might be affected by such changes. Alliance members tend to be civically

engaged and tend to vote at higher rates than the general public. The Alliance has previously

initiated and intervened in litigation in North Carolina courts to protect the ability of its members—

and the ability of all retirees—to vote and have their votes counted.

       35.     Because of Judge Griffin’s shoddy effort to inform challenged voters that their

votes may not count, the Alliance had to dedicate its own limited time and resources to identifying

potentially impacted members.




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       36.     The Alliance’s members in particular were likely to face acute difficulties

responding to Judge Griffin’s protests. Because the Alliance is an organization of retirees, its

members are generally older individuals, with an average age between 60 and 70 years of age. As

such, many Alliance members have limited familiarity and fluency with new technology, including

QR codes like those included on Judge Griffin’s postcards. Indeed, many Alliance members,

including the individual intervenors, do not have the mobile smartphones necessary to access QR

codes. Alliance members therefore faced a heightened risk of never even learning whether—or on

what basis—their votes were being challenged.

       37.     Juanita Anderson is an Alliance member whose vote was challenged by Judge

Griffin’s HAVA protests. She has been registered to vote at her current residence in North Carolina

since at least 2014 and has voted in nearly every state and federal election for which she was

eligible. Ms. Anderson was not aware of Judge Griffin’s challenge until she was made aware by

the Alliance itself. Ms. Anderson does not recall receiving any correspondence from the North

Carolina Republican Party or Judge Griffin informing her that her ballot was being challenged.

Even if she had received such correspondence, she would not have been able to use the QR code

on Judge Griffin’s postcard to learn more about the protests because Ms. Anderson does not own

a smartphone and is unfamiliar with QR codes.

       38.     Sarah Smith is an Alliance member whose vote was challenged by Judge Griffin’s

HAVA protests. She has been registered to vote at her current residence in North Carolina since

2009 and has voted in every state and federal election for which she was eligible. Ms. Smith was

not aware of Judge Griffin’s effort to toss out her vote until she was made aware by the Alliance

itself. Ms. Smith does not recall receiving any correspondence from the North Carolina Republican

Party or Judge Griffin informing her that her ballot was being challenged. Even if she had received




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such correspondence, she would not have been able to use the QR code on Judge Griffin’s postcard

to learn more about the protests because Ms. Smith is unfamiliar with QR codes and has never

used one.

       39.     Tanya Webster-Durham is an Alliance member whose vote was challenged by

Judge Griffin’s HAVA protests. She has been registered to vote at her current residence in North

Carolina since 2020 and has voted in every state and federal election for which she was eligible.

Ms. Webster-Durham was not aware of Judge Griffin’s effort to toss out her vote until she was

made aware by the Alliance itself. Ms. Webster-Durham does not recall receiving any

correspondence from the North Carolina Republican Party or Judge Griffin informing her that her

ballot was being challenged. Even if she had received such correspondence, she would not have

been able to use the QR code on Judge Griffin’s postcard to learn more about the protests because

Ms. Smith is unfamiliar with QR codes and has never used one.

       40.     Defendant The North Carolina State Board of Elections is the state agency with

“general supervision over the primaries and elections in the State.” N.C. Gen. Stat. § 163-22. The

NCSBE “works in conjunction with county boards of elections” across the state “to ensure that

elections are conducted lawfully and fairly.” North Carolina State Board of Elections, About,

https://www.ncsbe.gov/about (last visited May 1, 2025); see also N.C. Gen. Stat. §§ 163-182.12,

163-182.11. This includes regulating and addressing election protests filed with the county boards

of elections. Id. § 163-182.12. The NCSBE is located in Raleigh, North Carolina.

                                             Count I
                          Violation of the Fourteenth Amendment
             U.S. Const. Amend. XIV, 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202
                                  Substantive Due Process

       41.     VoteVets Intervenors reallege all preceding paragraphs as if fully set forth herein.




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       42.     Invalidating the ballots of voters subject to Judge Griffin’s challenges would violate

substantive due process.

       43.     Substantive due process prohibits the post-election disenfranchisement of voters

who reasonably relied on established voting procedures to exercise their most “fundamental

political right.” United States v. Anderson, 481 F.2d 685, 699 (4th Cir. 1973), aff’d, 417 U.S. 211

(1974). This doctrine was first articulated in a factually analogous case, where the First Circuit

held it was unconstitutional to discard votes after the conclusion of an election in which voters had

reasonably relied upon election rules that were only later deemed unlawful by a state court after

the election concluded. See Griffin v. Burns, 570 F.2d 1065, 1067, 1074 (1st Cir. 1978).

       44.     As such, states may not throw away votes where “state actions . . . induce[d] voters

to miscast their votes.” Ne. Ohio Coal. for Homeless v. Husted, 696 F.3d 580, 597 (6th Cir. 2012);

see also Griffin, 570 F.2d at 1067, 1074; Hoblock v. Albany Cnty. Bd. of Elections, 422 F.3d 77,

98 (2d Cir. 2005); Hendon, 710 F.2d at 182 (citing Griffin, 570 F.2d at 1077).

       45.     North Carolina has permitted UMOVA voters to cast ballots under UMOVA for

the past 13 years—nearly twice as long as the “long-standing practice” at issue in the leading case

in this area of jurisprudence, Griffin v. Burns. 570 F.2d at 1075. These voters had no reason to

think that, after such sustained and unchallenged practice under the plain text of UMOVA, their

ballots would suddenly be called into doubt.

       46.     There is no dispute that these voters followed election rules and instructions as they

existed on election day 2024. These rules were enacted by the Legislature in 2011 without a single

opposing vote. See N.C. Gen. Stat. § 163-258.2(1)(e).

       47.     These voters—who lack any clear opportunity to contest the disposal of their votes

under the state courts’ orders—indisputably acted in reliance on these established election rules




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when they cast their votes in November 2024. Deducting their votes now will leave them

completely disenfranchised. See Bennett v. Yoshina, 140 F.3d 1218, 1226–27 (9th Cir. 1998).

       48.     Moreover, it is not even certain that voters being challenged by Judge Griffin are

ineligible to vote under North Carolina law as the state courts have interpreted it. Initial analysis

shows that at least two dozen of the individuals in this category—who purportedly never resided

in North Carolina—appear to currently live or have previously lived in the state. 2

       49.     That some of these voters may have a chance to rehabilitate their votes does not

cure the constitutional infirmities. These voters’ ballots have all been declared presumptively

invalid, unlawfully “undo[ing] the ballot results in a court action.” Hendon, 710 F.2d at 182

(citation omitted). Being subjected to a post hoc process requiring these voters to jump through

new hoops and abide by rules that did not exist at the time of the election is itself unconstitutional.

Cf. League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014)

(concluding that requiring voters to vote pursuant to “[d]iscriminatory” voting procedures is

precisely “the kind of serious violation of the Constitution” that courts will enjoin. (citation

omitted)). The voters needing to cure, moreover, are Americans serving in the military or located

overseas, compounding the unprecedented risk of widespread disenfranchisement.

       50.     It would be a gross injustice to punish these voters—many of them servicemembers

or their families—for “state actions” that “induce[d]” them to allegedly “miscast their votes.”

Husted, 696 F.3d at 597; see also Hendon, 710 F.2d at 182 (applying the “general rule that denies

relief with respect to past elections” and rejecting challenge to long-existing election regulations).



2
  See Judd Legum, Rebecca Crosby, and Noel Sims, North Carolina Supreme Court Throws Out
Hundreds of Ballots Based on Flawed Data (Apr. 15, 2025), https://popular.info/p/north-carolina-
supreme-court-throws?r=21vp1p&triedRedirect=true. Disenfranchising voters based on a theory
that is factually incorrect is precisely the type of arbitrary disenfranchisement that is
unconstitutional.


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       51.     The federal constitution thus requires this Court to enjoin the Board from rejecting

their ballots or subjecting them to additional requirements before their votes can count.

                                             Count II
                          Violation of the Fourteenth Amendment
             U.S. Const. Amend. XIV, 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202
                                  Procedural Due Process

       52.     VoteVets Intervenors reallege all preceding paragraphs as if fully set forth herein.

       53.     Judge Griffin’s petition, if successful, would also violate procedural due process.

       54.     A due process analysis requires weighing “(1) [voters’] liberty interest; (2) the risk

of an erroneous deprivation of that interest under current procedures; and (3) the government’s

interest and burden of providing any additional procedure that would be required.” United States

v. White, 927 F.3d 257, 263 (4th Cir. 2019) (citing Mathews v. Eldridge, 424 U.S. 319, 335 (1976)).

Voters suffer a procedural due process violation “if election officials reject their ballots” without

being “notified or afforded any opportunity to respond.” Democracy N.C. v. N.C. State Bd. of

Elections, 476 F. Supp. 3d 158, 226 (M.D.N.C. 2020) (citation omitted).

       55.     To the extent UMOVA voters are deprived of any cure opportunity, they will be

unconstitutionally deprived of their liberty interests in having their votes counted. See Democracy

N.C., 476 F. Supp. 3d at 226.

       56.     Under this situation, the Board will be required to discard ballots cast by challenged

UMOVA voters without any “form of post-deprivation notice . . . so that any defect in eligibility

can be cured and [such voters are] not continually and repeatedly denied so fundamental a right.”

Raetzel v. Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1358 (D. Ariz. 1990). This

total lack of notice or opportunity to cure risks wrongful disenfranchisement of eligible North

Carolina voters.




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       57.       As the State Board explained in its Notice of Remedial Efforts, some voters Griffin

has labeled “never residents” have in fact previously resided within North Carolina and “were

either incorrectly identified as never residents or inadvertently indicated that they never lived in

the United States.” ECF No. 61 at 4 n.6. Given these known errors, a cure process that excludes

UMOVA voters runs the risk of depriving voters of their fundamental right to vote and does “not

comport with the constitutional requirements of due process.” Raetzel, F. Supp. at 1358.

                                              Count III
                       Violation of the First and Fourteenth Amendments
              U.S. Const. Amends. I, XIV, 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202
                          Unconstitutional Burden on the Right to Vote

        58.      VoteVets Intervenors reallege all preceding paragraphs as if fully set forth herein.

        59.      Any post-election changes to a state’s election laws and practices that result in the

disenfranchisement of tens of thousands of voters also severely burden the right to vote in violation

of the First and Fourteenth Amendments.

        60.      Under the applicable Anderson-Burdick test, the Court must “weigh[] the severity

of the burden the challenged [practice] imposes on a person’s constitutional rights against the

importance of the state’s interests supporting that law.” Libertarian Party of Va. v. Alcorn, 826

F.3d 708, 713 (4th Cir. 2016) (first citing Burdick v. Takushi, 504 U.S. 428, 434 (1992); then citing

Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)). Where a challenged process severely burdens

voters’ rights, it can only survive if it is narrowly drawn to advance a compelling state interest.

See Fusaro v. Cogan, 930 F.3d 241, 257–58 (4th Cir. 2019).

        61.      It is unquestionable that Judge Griffin’s attempt to discard thousands of ballots

severely burdens each of the affected voters’ fundamental right to the franchise. Rejecting these

voters’ ballots after they have already been cast in accordance with law and practice would not

just substantially burden their right to vote—it would revoke it entirely.



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         62.      The wholesale rejection of ballots cast by individuals expressly entitled to vote

under UMOVA imposes an undue burden on the right to vote.

         63.      That revocation comes 13 years and 43 elections after the General Assembly

enacted the UMOVA provision at issue, and months after voters cast their ballots, had those ballots

processed and tabulated, and had a candidate identified as the winner of the election.

         64.      To be an eligible voter, North Carolina requires only that an individual is a United

States citizen who is over the age of 18 and meets the state’s residency requirement. See N.C.

Const. art. VI, §§ 1, 2; N.C. Gen. Stat. § 163-55.

         65.      There is no state interest, let alone a compelling one, in retroactively

disenfranchising hundreds of voters the North Carolina General Assembly purposefully

enfranchised, particularly when such voters have long relied on this law to participate in elections

for years and where Griffin insists the underlying state court orders deprive them of any

opportunity to show their qualification to vote. See, e.g., Voto Latino v. Hirsch, 712 F. Supp. 3d

637, 672–74 (M.D.N.C. 2024) (concluding plaintiffs were likely to succeed in showing that North

Carolina’s provision allowing rejection of same-day voter registrations and votes without notice

to the voter and an opportunity to be heard imposes a substantial burden on affected individuals’

right to vote).

         66.      Judge Griffin’s belated desire to change the rules governing an election he lost is

not the sort of “compelling” state interest that warrants disenfranchising thousands of unassuming

North Carolinians. Alcorn, 826 F.3d at 717.

                                               Count IV
                          Violation of the National Voter Registration Act
                  52 U.S.C. §§ 20507(c)(2)(A), 20507(b)(1), 28 U.S.C. §§ 2201, 2202

         67.      VoteVets Intervenors reallege all preceding paragraphs as if fully set forth herein.




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        68.     The National Voter Registration Act (“NVRA”) prohibits efforts to systematically

remove voters from the voter rolls within close proximity of an election. See 52 U.S.C. §

20507(c)(2)(A) (requiring states to complete systematic removals from voter rolls 90 days before

an election).

        69.     Under North Carolina law, the state’s list maintenance activities “shall comply”

with “the provisions of the National Voter Registration Act.” N.C. Gen. Stat. § 163-82.14(a1). And

“North Carolina has a unified registration system for both state and federal elections, and thus is

bound by the provisions” of federal law. RNC v. NCSBE, 120 F.4th 390, 401-02 (4th Cir. 2024).

        70.     Systematic removals under the NVRA include attempts to remove voters en masse

without any “individualized inquiry as to the circumstances of each voter.” See N.C. State Conf.

of NAACP v. Bipartisan Bd. of Elections & Ethics Enf’t, No. 1:16CV1274, 2018 WL 3748172, at

*8 (M.D.N.C. Aug. 7, 2018).

        71.     The purpose of this election buffer around removals is to ensure that voters are not

“removed [from the rolls] days or weeks before Election Day” because they “will likely not be

able to correct” any erroneous removals “in time to vote.” Arcia v. Fla. Sec’y of State, 772 F.3d

1335, 1346 (11th Cir. 2014).

        72.     Yet that is precisely what occurred here—Griffin made an untimely, systematic

challenge to the registration status of the entire category of voters casting ballots under a decade’s

old law, waiting until after the election to ask whether their registrations were in fact sound.

        73.     The NVRA was enacted to avoid such mass disruption to the rolls close in time to

an election, requiring systematic challenges to be made well in advance of the election. See id.

(explaining that “the 90 Day Provision strikes a careful balance: It permits systematic removal




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programs at any time except for the 90 days before an election because that is when the risk of

disfranchising eligible voters is the greatest”).

        74.     The fact that Griffin raised his challenge immediately after the election does not

save it. The congressional protection mandated by the NVRA’s 90-day provision would be gutted

if losing candidates could simply convert what should be pre-election registration challenges made

far ahead of an election into post-election ballot challenges. Cf. Lamps Plus, Inc. v. Varela, 587

U.S. 176, 183 (2019) (explaining state law is preempted to the extent it serves as an obstacle to the

accomplishment of federal legislation).

        75.     Carving such a mile-wide loophole into the NVRA would eviscerate the 90-day

provision entirely, ensuring that dissatisfied candidates in future elections wait until the day after

the election to challenge voters’ registrations after they cast ballots and after the results of the

election are known.

        76.     And the result to voters, including VoteVets Intervenors and their constituents, is

the same either way—they will not be able to participate in the 2024 general election due to

untimely and non-individualized challenges to their registration status. Such voters are profoundly

prejudiced by this kind of post-election sandbagging, especially given that many of the challenged

UMOVA voters are in fact demonstrable North Carolina residents. ECF No. 61 at 4 n.6. Had

Griffin not blindsided these voters with tardy, post-election challenges, they could have established

as much before the election; his delay should not be permitted to rob them of that chance.

                                              Count V
                                Violation of the Civil Rights Act
              52 U.S.C. § 10101(a)(2)(B), 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202

        77.     VoteVets Intervenors reallege all preceding paragraphs as if fully set forth herein.




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         78.   Under the materiality provision of the Civil Rights Act, election officials “cannot

deny an individual the right to vote because of an ‘error or omission [that] is not material in

determining’ an applicant's eligibility to vote.” Mi Familia Vota v. Fontes, 129 F.4th 691, 720 (9th

Cir. 2025) (quoting 52 U.S.C. § 10101(a)(2)(B)).

         79.   The Federal Post Card Application (“FPCA”) permits UOCAVA voters to apply

for an absentee ballot application. It asks the voter to complete several fields, including a box (Box

1) indicating the basis on which they are “request[ing] an absentee ballot for all elections in which

[the voter is] eligible to vote.” See Voter Registration and Absentee Ballot Request: Federal Post

Card Application (FPCA), https://www.fvap.gov/uploads/fvap/forms/fpca.pdf (last visited May 1,

2025).

         80.   That is precisely what Griffin asks here by demanding that the Board disenfranchise

voters who are demonstrably North Carolina residents who happened to check a particular box on

the Federal Postcard Application (FPCA) to request an absentee ballot that is irrelevant to

determining residency. Such an “error” is “not material” to determining whether a person

conclusively known to be a North Carolina resident satisfies the residency qualification.




                                       Image 1: FPCA Form Box 1




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        81.    Griffin’s challenge of UMOVA voters is premised solely on the fact that under Box

1, a voter has selected that they are “a U.S. Citizen living outside of the country, [and has] never

lived in the United States.” See Image 1, “1. Who are you? Pick one.” However, his challenge

assumes that every voter who has selected this checkbox did so accurately and has never in fact

resided in North Carolina.

        82.    But as the Board’s notice explains, many of the challenged UMOVA voters have

in fact resided in North Carolina, as reflected by their prior registrations and voting history. See

ECF No. 61 at 4-5 (“Board Notice”). State and local election officials therefore may possess

independent and conclusive evidence of a voter’s prior North Carolina residence, but these voters

may have “inadvertently indicated that they never lived in the United States” in Box 1. Id. at 4 n.6.

Griffin’s UMOVA Challenge nonetheless seeks to disenfranchise bona fide North Carolina

residents for an immaterial error they made when completing their FPCA forms, without any

opportunity to cure or present evidence of North Carolina residence.

        83.    The Civil Rights Act bars disenfranchising lawful voters in this manner. Its

materiality provision commands that “[n]o person acting under color of law shall . . . deny the right

of any individual to vote in any election because of an error or omission on any record or paper

relating to any application, registration, or other act requisite to voting, if such error or omission

is not material in determining whether such individual is qualified under State law to vote in such

election.” 52 U.S.C. § 10101(a)(2)(B) (emphases added). But putting a checkmark next to the

fourth box in Box 1 of the FPCA is necessarily an immaterial error where the applicant has

demonstrated residing, registering, or voting in North Carolina for prior elections.

        84.    In fact, nothing about the checkbox in Box 1 is even intended to provide election

officials with information about a voter’s eligibility to vote in a particular state; it concerns what




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basis permits them to vote absentee. Guidance from the Federal Voting Assistance Program

confirms this, making clear the checkbox is not even required. See Federal Voting Assistance

Program, FPCA: Registering and requesting your absentee ballot (North Carolina),

https://www.fvap.gov/guide/chapter2/north-carolina (last visited May 1, 2025) (specifying

instructions for filling out Section 1 of the FPCA form).

        85.    The checkboxes in Box 1 are therefore immaterial to determining an applicant’s

North Carolina residency and eligibility to participate in the election where election officials have

in hand information that confirms that same voter’s North Carolina residence.

                                     PRAYER FOR RELIEF

       WHEREFORE, VoteVets Intervenors respectfully request that the Court enter a judgment

in their favor providing the following relief:

       (1) Declare that removing votes cast by voters targeted by Griffin’s challenges violates

those voters’ substantive due process rights;

       (2) Declare that removing votes cast by voters targeted by Griffin’s challenges violates

those voters’ fundamental right to vote;

       (3) Declare that removing votes cast by voters targeted by Griffin’s challenges violates

those voters’ procedural due process rights;

       (4) Declare that removing votes cast by voters targeted by Griffin’s UMOVA Challenges

violates those voters’ rights under the Civil Rights Act, 52 U.S.C. § 10101(a)(2)(B);

       (5) Declare that removing votes cast by voters targeted by Griffin’s UMOVA Challenges

violates those voters’ rights under the National Voter Registration Act, 52 U.S.C. §§

20507(c)(2)(A), 20507(b)(1);




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       (6) Permanently enjoin the State Board from discarding any votes cast by voters who have

been challenged by Griffin’s UMOVA Challenges;

       (7) Order the Board to certify the results of the election as they stood at the time of its final

formal count on December 10, 2024; and

       (8) Grant VoteVets Intervenors such additional and further relief as this Court deems just

and proper.




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Dated: May 1, 2025                  Respectfully submitted,

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